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                      Exhibit B
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            POLICY NUMBER:           71P2000037-101
            RENEWAL OF:              71P2000037-091

ITEM 1.                                                          ❑       Everest National Insurance Company
Named       County of San Bernardino                                             477 Martinsville Road
Insured                                                               P.O. Box 830 Liberty Corner, NJ 07938-0830
                                                                                   1-800-438-4375
Address     222 W. Hospitality Lane, 3rd Floor
(Street,    San Bernardino, CA 92415                                                Managing Underwriter:
Town,                                                                                 C.V. Starr & Co.
State)


                      PUBLIC ENTITY EXCESS LIABILITY POLICY DECLARATIONS

In return for the a    ent of the remium, we a ee to rovide the insurance as stated in this Polic

ITEM 2.     POLICY       FROM:  July 1, 2010       TO:    July 1, 2011      AT 12:01 A.M.
            PERIOD       STANDARD TIME AT THE ADDRESS OF THE NAMED INSURED SHOWN ABOVE.


ITEM 3.      LIMITS OF INSURANCE

            The Limits of Insurance, subject to all the terms and conditions of this Policy are:

            A.    Limits of Insurance

                 1.   Aggregate Limits                        Limits of Liability

                        a.   $10,000,000         "Products-Completed Operations Hazard" Aggregate

                        b.   $10,000,000         Errors and Omissions Liability Aggregate, other than "wrongful acts"
                                                 of "personal injury offense" or "advertising injury offense"

                        c.   $10,000,000         "Employment Practice Liability Wrongful Acts" Aggregate

                        d.   $10,000,000         Employee Benefit Liability Aggregate

                 2.   Per "Occurrence" or "Wrongful Act" or
                      "Employee Benefit Wrongful Act" Limit

                             $10,000,000         Any one "occurrence", "wrongful act" or "employee benefit
                                                 wrongful act" or series of continuous, repeated, or related
                                                 "occurrences", "wrongful acts" or "employee benefit wrongful acts"
                                                 in excess of your "retained limit".

                 3.   Per "Employment Practice
                      Liability Wrongful Act" Limit

                             $10,000,000         Any one "employment practice liability wrongful act" or series of
                                                 continuous, repeated, or related "employment practice liability
                                                 wrongful acts" in excess of your "retained limit".



EDEC 556 05 06                                                                                             Page 1 of 2
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           B.         "Retained Limit"

                 1.           $2,500,000         Any one "occurrence" or "wrongful act" or `employee benefit
                                                 wrongful act" or series of continuous, repeated, or related
                                                 "occurrences", "wrongful acts" or "employee benefit wrongful
                                                 acts".
                 2.           $2,500,000         Any one "employment practice liability wrongful act" or series of
                                                 continuous, repeated, or related "employment practice liability
                                                 wrongful acts".

ITEM 4.    ENDORSEMENTS APPLICABLE TO THIS POLICY ON THE ORIGINAL DATE OF
           ISSUE:

                                             Title                                         Number
                        Schedule of Underlying Insurance                                EDEC 557 05 06
                        Nuclear Energy Liability Exclusion Endorsement                   CU 21 23 02 02
                        California Changes-Cancellation and Nonrenewal                   CU 02 23 11 04
                        Cap on Losses from Certified Acts of Terrorism                   CU 21 30 01 08
                        Disclosure Pursuant to Terrorism Risk Insurance Act              IL 09 85 01 08
                        Common Policy Conditions                                         IL 00 17 11 98
                        Pollution Changes                                               EIL 01 510 07 OA
                        Addendum to the Declarations                                   EUM 27 502 05 06
                        Earlier Notice of Cancellation or Nonrenewal                   EUM 02 536 05 06
                        Exclusion-Time Element Pollution                               EUM 21 723 05 06
                        Additional Insured - Contract                                  EUM 20 505 05 06
                        Dam Coverage with Exception for Specifically                   EUM 22 544 04 09
                        Excluded Dams; Amended Subsidence Exclusion
                        Policy Changes-Amendatory Endorsement                            CU 22 40 12 04
                        Company Signature Page                                          EIL 00 515 03 07

ITEM 5.    PREMIUM, MINIMUM PREMIUM AND MINIMUM EARNED PREMIUM
             POLICY PREMIUM     MINIMUM PREMIUM    MINIMUM EARNED PREMIUM
                $1,157,580          $1,157,580             $289,395


ITEM 6.    A.     NOTICE  OF CLAIM OR                     SUIT    B.   RETAINED     LIMIT   CLAIMS
                  REPORTING LOCATION:                                  SERVICING ORGANIZATION:
           Name:          Everest National Insurance Company      Name:       Self-Administered
                          Westgate Corporate Center
           Address:       477 Martinsville Road                   Address:
                          Liberty Corner, NJ 07938-0830
           Phone                                                  Phone
           Number:                                                Number:

           These Declarations and attached Schedule (if app icable), together with the terms and conditions,
           Policy form, and any endorsement(s), complete the above numbered policy.
           This Policy is not valid unless countersigned by a du y authorized agent of the Company.

                        Producer Name and Address                  Swett & Crawford
                        (Not an authorized broker of Everest       21650 Oxnard St., Suite 1400
                           National Insurance Company)             Woodlar        CA: 1367

Date of Issue:        August 9, 2010        Countersigned By:
                                                                              Authorized Representative


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                                      PUBLIC ENTITY EXCESS LIABILITY POLICY
                                       SCHEDULE OF UNDERLYING INSURANCE


Named Insured:       County of San Bernardino                    Effective Date:        July 1, 2010

Policy Number:       71 P2000037-101                             Issuing Company:       Everest National Insurance
                                                                                        Company


           UNDERLYING POLICY OR COVERAGE                                            LIMITS OF INSURANCE




Type of Policy or Coverage: Employer's Liability                                    $3,000,000   Each Accident
                                                                                    $3,000,000   Disease, Each Employee
                                                                                    $3,000,000   Aggregate
Insurer: Arch Insurance Company
                                                                                        Retained Limit

Policy Number: WCX 0034243 01                                                       $5,000,000   Each Accident
                                                                                    $5,000,000   Disease, Each Employee

Policy Term: July 1, 2010 to July 1, 2011




Type of Policy or Coverage:


Insurer:


Policy Number:


Policy Term:




Type of Policy or Coverage:


Insurer:


Policy Number:


Policy Term:




Date of Issue:       August 9, 2010                Authorized Representative:




EDEC 557 05 06
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                      PUBLIC ENTITY EXCESS LIABILITY POLICY
  PREAMBLE
                                                                 3. EMPLOYMENT PRACTICE LIABILITY
  Various provisions in this Policy restrict
  coverage. Read the entire Policy carefully to                      We will pay on your behalf, the "ultimate
  determine rights, duties, and what is and is not                   net loss", in excess of the "retained
  covered.                                                           limit", that the insured becomes legally
                                                                     obligated to compensate others for loss
  Throughout this Policy the words "you" and                         arising out of your "employment practice
  "your" refer to the Named Insured(s) shown in                      liability wrongful act" that takes place in
  the Declarations and any other person(s) or                        the "coverage territory" during the Policy
  organization(s) qualifying as a Named Insured                      Period.
  under this Policy. The words "we", "us", and "our"
  refer to the company providing this insurance.                 4. EMPLOYEE BENEFIT LIABILITY

  The word "insured" means any person or                             We will pay on behalf of the insured, the
  organization qualifying as such under SECTION                      "ultimate net loss", in excess of the
  II. WHO IS AN INSURED.                                             "retained limit", that the insured
                                                                     becomes legally obligated to
  Other words and phrases that appear in                             compensate others for loss arising out of
  quotation marks have special meaning. Refer to                     your "employee benefit wrongful act" in
  SECTION V. DEFINITIONS.                                            the "administration" of your employee
                                                                     benefit program to which this insurance
  SECTION I. COVERAGES                                               applies and that takes place in the
                                                                     "coverage territory" during the Policy
                                                                     Period.
  A. INSURING AGREEMENTS
                                                                5. This insurance applies to "bodily injury",
      1. BODILY INJURY AND PROPERTY
                                                                   "property damage", "wrongful acts",
         DAMAGE LIABILITY
                                                                   "employment practice liability wrongful
                                                                   acts" or "employee benefit wrongful acts"
          We will pay on behalf of the insured, the
                                                                   only if, prior to the Policy Period, no
          "ultimate net loss", in excess of the
                                                                   insured listed under Paragraphs 1. or 2. of
          "retained limit", that the insured
                                                                   SECTION II. WHO IS AN INSURED, and
          becomes legally obligated to pay by
                                                                   no "employee" authorized by you to give or
          reason of liability imposed by law
                                                                   receive notice of an "occurrence",
          because of "bodily injury" or "property
                                                                   "wrongful act", "employment practice
          damage" caused by an "occurrence" to
                                                                   liability wrongful act", "employee benefit
          which this insurance applies and that
                                                                   wrongful act" or "claim" knew that the
          takes place in the "coverage territory"
                                                                   "bodily injury", "property damage",
          during the Policy Period.
                                                                   "wrongful act", "employment practice
                                                                   liability wrongful act" or "employee benefit
      2. ERRORS AND OMISSIONS LIABILITY
                                                                   wrongful act" had occurred or had taken
                                                                   place, in whole or in part. If such a listed
          We will pay on behalf of the insured, the
                                                                   insured or authorized "employee" knew,
          "ultimate net loss", in excess of the
                                                                   prior to the Policy Period, that the "bodily
          "retained limit", that the insured
                                                                   injury", "property damage", "wrongful act",
          becomes legally obligated to pay to
                                                                   "employment practice liability wrongful act"
          compensate others for loss arising out of
                                                                   or "employee benefit wrongful act"
          your "wrongful act" to which this
                                                                   occurred or took place, then any
          insurance applies and that takes place in
                                                                   continuation, change or resumption of
          the "coverage territory" during the Policy
                                                                   such "bodily injury", "property damage",
          Period.
                                                                   "wrongful act", "employment practice
                                                                   liability wrongful act" or "employee benefit
                                                                   wrongful act" during or after the Policy




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        Period will be deemed to have been                             damage", "wrongful act",
        known prior to the Policy Period.                              "employment practice liability
                                                                       wrongful act" or "employee benefit
         The "bodily injury", "property damage",                       wrongful act" has taken place,
         "wrongful act", "employment practice                          occurred or has begun to occur.
         liability wrongful act" or "employee
         benefit wrongful act" which occurs                        Damages because of "bodily injury"
         during the Policy Period and was not,                     include damages claimed by any person
         prior to the Policy Period, known to have                 or organization for care, loss of services
         occurred or taken place by any insured                    or death resulting at any time from the
         listed under Paragraphs 1. or 2. of                       "bodily injury".
         SECTION II. WHO IS AN INSURED, or
         any "employee" authorized by you to              B. DEFENSE
         give or receive notice of an
         "occurrence", "wrongful act",                         We will have the right and duty to defend the
         "employment practice liability wrongful               insured against any "claim" or "suit" seeking
         act", "employee benefit wrongful act" or              damages for "bodily injury" "property
         "claim", includes any continuation,                   damage", "wrongful acts", "employment
         change or resumption of that "bodily                  practice liability wrongful acts" or "employee
         injury", "property damage", "wrongful                 benefit wrongful acts" to which this insurance
         act", "employment practice liability                  applies when the "underlying insurance"
         wrongful act" or "employee benefit                    does not provide coverage or the limits of
         wrongful act" after the end of the Policy             "underlying insurance" or your self-insured
         Period.                                               retention of the "retained limit" have been
                                                               exhausted by payment to a third party of
         The "bodily injury", "property damage",               judgments, settlements, or defense costs, or
         "wrongful act", "employment practice                  by payment of "covered first-party
         liability wrongful act" or "employee                  automobile expenses". When we have no
         benefit wrongful act" will be deemed to               duty to defend, we will have the right to
         have been known to have taken place or                defend, or to participate in the defense of,
         occurred at the earliest time when any                the insured against any other "suit" seeking
         insured listed under Paragraphs 1. or 2.              damages to which this insurance may apply.
         of SECTION II. WHO IS AN INSURED,                     However, we will have no duty to defend the
         or any "employee" authorized by you to                insured against any "suit" seeking damages
         give or receive notice of an                          for "bodily injury", "property damage",
         "occurrence", "wrongful act",                         "wrongful acts", "employment related
         "employment practice liability wrongful               practice wrongful act" or "employee benefit
         act", "employee benefit wrongful act" or              wrongful acts" to which this insurance does
         "claim":                                              not apply. At our discretion, we may
                                                               investigate any "occurrence", "wrongful act",
         a. Reports all, or any part, of the "bodily           "employment related practice wrongful act"
            injury", "property damage", "wrongful              or "employee benefit wrongful act" that may
            act", "employment practice liability               involve this insurance and settle any
            wrongful act" or "employee benefit                 resultant "claim" or "suit" for which we have
            wrongful act" to us or any other                   the duty to defend. But:
            insurer;
                                                              1. The amount we will pay for the "ultimate
         b. Receives a written or verbal demand                  net loss" is limited as described in
            or "claim" for damages because of                    SECTION III. LIMITS OF INSURANCE;
            the "bodily injury", "property                       and
            damage", "wrongful act",
            "employment practice liability                    2. Our right and duty to defend ends when
            wrongful act" or "employee benefit                   we have used up the applicable Limit of
            wrongful act"; or                                    Insurance in the payment of judgments,
                                                                 settlements, defense costs, or "covered
         c. Becomes aware by any other means                     first-party automobile expenses".
            that "bodily injury", "property



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  C. DEFENSE COSTS
                                                                     b. We will not pay expenses:
      1. All expenses we incur in the defense of                          (1) Incurred by any insured; or
         any "claim" or "suit" are included within
         and erode the Limits of Insurance,                               (2) Included in the self-insured
         except for salaries of our employees, our                            retention, "underlying insurance"
         office expenses, and any expenses of                                 or other insurance.
         any claims service provider working on
         our behalf.                                             4. If we defend an insured against a "suit"
                                                                    and an indemnitee of the insured is also
      2. We will pay, with respect to any "claim"                   named as a party to the "suit", we will
         we investigate or settle, or any "suit"                    defend that indemnitee if all of the
         against an insured we defend, when the                     following conditions are met:
         duty to defend exists:
                                                                     a. The "suit" against the indemnitee
          a. All expenses we incur;                                     seeks damages for which the
          b. Costs taxed against any insured in                         insured has assumed the liability of
             the "suit";                                                the indemnitee in a contract or
                                                                        agreement that is an "insured
          c. The cost of appeal bonds or bonds
                                                                        contract";
             to release attachments. But we will
             only pay for bond amounts to which                      b. This insurance applies to such
             our Limits of Insurance apply. We do                       liability assumed by the insured;
             not have to furnish these bonds;                        c. The obligation to defend, or the cost
          d. Other reasonable expenses incurred                         of the defense of, that indemnitee,
             by the insured at our request to                           has also been assumed by the
             assist us in the investigation or                          insured in the same "insured
             defense of the "claim" or "suit". This                     contract";
             includes actual loss of earnings up                     d. The allegations in the "suit" and the
             to $500 a day, because of time off                         information we know about the
             from work;                                                 "occurrence" "wrongful act",
          e. Prejudgment interest awarded                               "employment practice liability
             against any insured on that part of                        wrongful act" or "employee benefit
             the judgment we pay. If we make an                         wrongful act" are such that no
             offer to pay the applicable Limit of                       conflict appears to exist between the
             Insurance, we will not pay any                             interests of the insured and the
             prejudgment interest based on that                         interests of the indemnitee;
             period of time after the offer; or                      e. The indemnitee and the insured ask
          f.   Interest on the amount of any                            us to conduct and control the
               judgment that accrues after entry of                     defense of that indemnitee against
               the judgment and before we have                          such "suit" and agree that we can
               paid, offered to pay, or deposited in                    assign the same counsel to defend
               court the part of the judgment that is                   the insured and the indemnitee;
               within the applicable Limit of                        f.   The indemnitee:
               Insurance.
                                                                          (1) Agrees in writing to:
      3. As respects any "claim" or "suit" to which
         this insurance applies and for which we                              i.   Cooperate with us in the
         do not assume control of the settlement                                   investigation, settlement or
         or defense:                                                               defense of the "suit";

          a. We will pay expenses we directly                                ii.   Immediately send us copies
             incur at our discretion; and                                          of any demands, notices,
                                                                                   summons or legal papers
                                                                                   received in connection with
                                                                                   the "suit";
                                                                            iii.   Notify any other insurer
                                                                                   whose coverage is available
                                                                                   to the indemnitee; and



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                 iv.     Cooperate with us with                      accessible to the public for the purpose of
                         respect to coordinating                     entering, leaving, or using the "airport
                         other applicable insurance                  facilities".
                         available to the indemnitee;
              (2) Provides us with written                        4. Any obligation for which any insured may
                  authorization to:                                  be held liable under any of the following:
                                                                     workers' compensation laws,
                   i. Obtain records and other                       unemployment compensation laws,
                      information related to the                     disability benefits laws or any similar laws.
                      "suit"; and
                   ii. Conduct and control the                    5. "Bodily injury" to any "employee" of the
                       defense of the indemnitee in                  insured for the acts of another of your
                       such "suit".                                  "employees" arising out of and in the
                                                                     course of their employment by the insured.
          Our obligation to defend an insured's
                                                                     This exclusion does not apply to liability
          indemnitee and to pay for attorneys' fees
                                                                     assumed by you in a contract or
          and necessary litigation expenses as
                                                                     agreement that is an "insured contract".
          Defense Costs ends when we have
          used up the applicable Limit of
                                                                  6. Any liability for any "advertising injury
          Insurance in the payment of judgments,
                                                                     offense" arising out of:
          defense expenses, settlements,
          "covered first-party automobile
                                                                       a. A breach of contract, except an
          expenses" or the conditions set forth
                                                                          implied contract to use another's
          above, or the terms of the agreement in
                                                                          advertising idea in your
          Paragraph f. above, are no longer met.
                                                                          "advertisement";

  D. EXCLUSIONS                                                      b. The failure of goods, products or
                                                                        services to conform with any statement
  This insurance does not apply to a "claim" or                         of quality or performance made in your
  "suit" against you for:                                               "advertisement";

      1. "Bodily injury" or "property damage"                          c. The wrong description of the price of
         expected or intended from the                                    goods, products, or services stated
         standpoint of the insured. This exclusion                        in your "advertisement"; or
         does not apply to "bodily injury" resulting
         from the use of reasonable force to                           d. Any of your operations whose
         protect persons or property.                                     primary business is advertising,
                                                                          broadcasting, publishing or
     2. "Bodily injury" or "property damage" arising                      telecasting.
        out of a "wrongful act", "employment
        practice liability wrongful act" or "employee              7. "Property damage" to:
        benefit wrongful act" whether causing or
        contributing to such "bodily injury" or                        a. Property owned by you; or
        "property damage" unless the "bodily
        injury" or "property damage" arises out of                     b. Aircraft in the care, custody or
        an "occurrence".                                                  control of the insured including
                                                                          aircraft of which you are exercising
     3. Any liability arising out of the ownership,                       physical control.
        maintenance, use, or entrustment to
        others of any aircraft, airfields, runways,                8. Any liability for which you are obligated
        hangars, buildings or other properties in                     to pay damages by reason of
        connection with aviation activities. Use                      assumption of liability in any contract or
        includes operation and "loading or                            agreement. This exclusion does not
        unloading".                                                   apply to liability for damages:

        However, this exclusion does not apply if                      a. Assumed in a contract or agreement
        the "occurrence" is in an area normally                           that is an "insured contract" provided



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              the "bodily injury" or "property                        iii. Any liability arising out of police use
              damage" occurs subsequent to the                             of mace, oleoresin capsicum (o.c.),
              execution of the contract or                                 pepper gas or tear gas;
              agreement; or
                                                                      iv. Any liability arising from weed
          b. Liability for damages that you would                         abatement or spraying; or
             have in the absence of the contract
             or agreement.                                            v. Any liability arising out of the
                                                                         "products-completed operations
      9. a. Any liability arising out of the actual,                     hazard".
            alleged or threatened discharge,
            dispersal, seepage, migration,                               All liability arising from paragraphs
            release or escape of "pollutants" at                                iii., iv., or v. above arising out
            any time;                                                    of the same, interrelated,
                                                                         associated, repeated or continual
          b. Any loss, cost, or expense arising                          discharge, dispersal, release or
             out of any:                                                 escape of "pollutants" shall be
                                                                         deemed one "occurrence", "wrongful
              (1) Request, demand, order,                                act", "employment practice liability
                  statutory or regulatory                                wrongful act" or "employee benefit
                  requirement that any insured or                        wrongful act". The commencement
                  others test for, monitor, clean                        of such discharge, dispersal, release
                  up, remove, contain, treat,                            or escape of "pollutants" shall be
                  detoxify or neutralize, or in any                      recorded and reported to the Risk
                  way respond to or assess the                           Manager or designated Department
                  effects of "pollutants"; or                            Head within a seventy-two (72) hour
                                                                         period.
           (2)"Claim" or "suit" by, or on behalf of,
              a governmental authority for                               Regardless of whether any "suit" or
              damages because of testing for,                            "claim" against you has been made,
              monitoring, cleaning up, removing,                         you shall give written notice to us or
              containing, treating, detoxifying or                       any authorized brokers within forty
              neutralizing, or in any way                                (40) calendar days of the Risk
              responding to, or assessing the                            Managers or designated
              effects of "pollutants", unless such                       Department Head's recorded entry
              loss, cost, or expense arising from                        of such discharge, dispersal, release
              any spill, release, or other                               or escape of "pollutants" which may
              hazardous condition at or from the                         result in liability as described in
               premises, equipment, or location(s)                       paragraphs i., ii., iii., iv., or v.
              which you do not own, rent, control                        above.
              or occupy.
                                                                 10. a. Any liability arising, in whole or in
              However, this exclusion shall not                         part, out of actual or alleged,
              apply to the following:                                   threatened or suspected, inhalation
                                                                        of, ingestion of, contact with,
              i.   Any liability arising out of heat,                   exposure to, existence of, or
                   smoke, or fumes from a "hostile                      presence of asbestos; or
                   fire";
                                                                     b. Any loss, cost or expense arising, in
           ii. Any liability arising out of explosion,                  whole or in part, out of the abating,
               lightning, windstorm, vandalism or                       testing for, monitoring, cleaning up,
               malicious mischief, collapse, riot                       removing, containing, treating,
               and civil commotion, flood,                              detoxifying, neutralizing,
               earthquake or collision, upset, or                       remediating, or disposing of or in
               overturn of an "automobile" or                           any way responding to or assessing
               equipment;                                               the effects of asbestos by any




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              insured or by any other person or                  16. Any liability arising out of your "wrongful
              entity.                                                act" for gain, profit, or advantage to
                                                                     which you are not legally entitled. We
      11. "Bodily injury" or "property damage"                       may, at our sole discretion, agree to
          arising out of the failure or inability to                 waive this exclusion in order to supply
          supply or provide an adequate supply of                    certain payments under Paragraph C.
          electricity, gas, steam or water;                          Defense Costs of SECTION I.
                                                                     COVERAGES as respects any "claim"
          This exclusion does not apply if:                          or "suit" arising from an alleged criminal,
                                                                     fraudulent, dishonest or malicious act or
          a. Such failure arises out of a "wrongful                  omission committed by or at the
             act" or "occurrence"; and                               direction of you, for any "claim" or "suit"
                                                                     arising out of your wrongful act for gain,
          b. The combined capacity of your                           profit, or advantage to which you are not
             installed production facilities and                     legally entitled until final adjudication,
             contractual supply arrangements is                      judgment or settlement to which we
             equal to or greater than one hundred                    have agreed. If the judgment or final
             and ten percent (110%) of the                           adjudication is adverse to you, you will
             electricity, steam and/or gas                           reimburse us for all costs associated
             demand or one hundred percent                           with the defense.
             (100%) of the water demand,
             whichever demand is applicable to                       This exclusion does not apply to liability
             your electric, gas, steam or water                      that any insured has with regard to the
             system.                                                 managerial, advisory, supervisory, or
                                                                     controlling obligations over the actions of
      12. Any liability arising out of the handling of               another insured.
          "claims" or "suits" within the "retained
          limit", including investigation, defense or            17. Any liability for "personal injury offense"
          settlement of "claims" and suits.                          or "advertising injury offense":

      13. Any liability arising out of failing to                    a. Arising out of oral or written
          procure or effect insurance contracts.                        publication of material, if done by or
                                                                        at the direction of the insured with
      14. Any obligation of the insured under the                       knowledge of its falsity; or
          Employee Retirement Income Security
          Act (E.R.I.S.A) and amendments thereto                     b. Arising out of oral or written
          or any similar federal, state or local                        publication of material whose first
          statute.                                                      publication took place before the
                                                                        beginning of the Policy Period. All
      15. Any liability arising out of criminal,                        "personal injury offense" or
          fraudulent, dishonest or malicious acts                       "advertising injury offense" arising
          or omissions committed by or at the                           out of publication of the same or
          direction of the insured. We may, at our                      similar material subsequent to the
          sole discretion, agree to waive this                          beginning of the Policy Period is also
          exclusion in order to supply certain                          excluded.
          payments under Paragraph C. Defense
          Costs of SECTION I. COVERAGES. If                      18. Any liability for the purchase, sale, or
          the judgment or final adjudication is                      offer of sale, or solicitation of any
          adverse to you, you will reimburse us for                  security, debt, bank deposit or financial
          all defense costs.                                         interest or instrument arising out of:

          This exclusion does not apply to liability                 a. Representations made by you at any
          arising from the managerial, advisory,                        time in relation to the price or value
          supervisory, or controlling obligations of                    of any security, debt, bank deposit,
          any insured over the actions of another                       or financial interest or instrument,
          insured.                                                      including, but not limited to, advice
                                                                        given to any person to participate in



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              any plan included in the "employee                     accidental discharge or partial or
              benefit program";                                      complete structural failure of any "dam".

          b. Any depreciation or decline in price                22. Any liability arising out of refund of
             or value of any security, debt, bank                    taxes, fees or assessments.
             deposit or financial interest or
             instrument;                                         23. Liability arising out of the operation of
                                                                     any hospital, clinic, or health care facility,
          c. An insufficiency of funds to meet any                   owned or operated by the insured. This
             obligation under any "employee                          includes, but is not limited to:
             benefit program";
                                                                     a. The rendering or failure to render:
          d. Any act, error, or omission by you to
             effect and maintain insurance or                             (1) Medical, surgical, dental, x-ray
             bonding for plan property or assets                              or nursing service or treatment,
             of "employee benefit program"; or                                or the furnishing of food or
                                                                              beverages in connection
          e. Failure of performance or lack of                                therewith;
             performance under any contract by
             an insurer of benefits subject to the                        (2) Any service or treatment related
             "employee benefit program".                                      to physical or mental health or of
                                                                              a professional nature; or
      19. "Property damage" caused by, arising
          out of, resulting from, attributable or                         (3) Any cosmetic or tonsorial
          contributed to, or aggravated by                                    service or treatment.
          "subsidence".
                                                                     b. The furnishing of or dispensing of
     20. Liability arising out of the direct                            drugs or medical, dental or surgical
        condemnation of property or exercise of                         supplies or appliances.
        power of eminent domain by you or on
        your behalf, or inverse condemnation, or                     This exclusion does not apply to any
        the taking of any property by you which is                   liability arising out of:
        compensable under the Fifth or
        Fourteenth Amendments to the United                          i.   Occupational physical examinations,
        States Constitution, or the taking of any                         non-clinic nursing services or
        property by you which is compensable                              services of your "employees" who
        under law of the State in which the "claim"                       are nurses, paramedics, emergency
        or "suit" is made.                                                medical technicians, speech
                                                                          therapists, speech pathologists,
          This exclusion does not apply to physical                       nutritionists, psychologists,
          injury or to destruction of tangible                            audiologists, or physical therapists;
          property, including all resulting loss of
          use of such property for which you may                     ii. "Employment practice liability
          be legally responsible and for which                           wrongful act";
          recovery is sought for "claims" or "suits"
          for inverse condemnation, by whatever                      iii. "First aid" to any person;
          name called however, there shall be no
          coverage for reduced value of property                     iv. Any nursing services clinic that does
          (diminution of value), attorney fees,                          not perform invasive surgery of any
          expert fees, severance damages,                                kind; or
          relocation costs or any other form of
          relief, however denominated.                               v. Operations performed by coroners.

      21. Any liability arising out of the rupture,              24. Any liability arising out of or in
          bursting, over-topping, flooding,                          connection with any transit authority,
          cracking, seepage, under-seepage,                          transit system, or public transportation
                                                                     system owned, operated, or regulated by



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          any insured, unless the transit or public               with respect to such "joint power
          transportation systems operate over                     authority(ies)":
          non-fixed routes, including, but not
          limited to, Dial-a-Ride, senior citizen                  a. The interest of "municipality" agencies
          transportation, or handicapped persons                      participating as member agencies in
          transportation or to contingent liability                   the "joint power authority(ies)", and any
          coverage where such services are                            and all districts, authorities,
          contracted.                                                 committees, trustees, boards,
                                                                      commissions, or similar entity subject
     25. Any liability for injunctions, equitable                     to the direction or control of such
        relief, or any other form of relief other than                agencies or for which the board
        the payment of money damages.                                 members act as governing body. A
                                                                      member agency includes any
     26. Any liability arising out of or in                           department or constituent agency of
        connection with the operation of any                          the member agency; and
        school owned or operated by you.
                                                                   b. Any individual who was previously or is
     27. Any obligation of any insured under any                      presently elected or appointed as an
        Uninsured Motorist or Underinsured                            official of a member agency in the "joint
        Motorist law and to any sums you may be                       power authority", but only with respect
        legally entitled to recover as damages                        to their duties as an official of the
        from the owner or operator of an                              member agency, including acting on
        uninsured or underinsured "automobile"                        boards at the direction of the agency;
        because of "bodily injury" and "property                      or
        damage" sustained by any insured,
        caused by an "occurrence" and arising out                  c. Any "volunteer worker" of the member
        of the ownership, maintenance or use of                       agency only while performing duties
        such "automobile". Use includes operation                     related to the conduct of the member
        and "loading and unloading".                                  agencies, or any "employee" of the
                                                                      member agencies but only for acts
  SECTION II. WHO IS AN INSURED                                       within the scope of their employment or
                                                                      while performing duties related to the
  The following are insureds under this insurance:                    conduct of the member agencies.

     1.   You;                                                   5. Any person designated in paragraphs 1.
                                                                    through 4. above:
    2. Any individual who was previously or is
       presently elected or appointed as an official                 a. Using any "automobile" not owned
       of the Named Insured, including members                          by you that is used in connection
       of its governing body or any other agencies,                     with your operations as a "public
       districts, authorities, committees, trustees,                    entity"; or
       boards, commissions, or similar entity of
       the Named Insured, but only with respect to                   b. Using with your permission any
       their duties as an official of the Named                         owned "automobile" of yours or
       Insured;                                                         "hired automobile" or any person
                                                                        legally responsible for the use
     3.Your "volunteer workers" only while                              thereof,
       performing duties related to the conduct of
       the Named Insured, or your "employees"                        except:
       but only for acts within the scope of their
       employment by you or while performing                       i. Any person using an "automobile" while
       duties related to the conduct of the Named                     he or she is working in a business of
       Insured;                                                       selling, servicing, repairing, delivering,
                                                                      testing, parking, or storing
     4.Any legally authorized "joint power                            "automobiles"; or
       authority(ies)" representing any Named
       Insured. The following are also insureds



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          ii. The owner or lessee of any "hired                       We will then pay damages in excess of
              automobile". This exception does not                    your "retained limit" up to our Limits of
              apply if the owner or lessee is an                      Insurance.
              insured designated in paragraphs 1.
              through 4. above.                                   4. If you procure "underlying insurance"
                                                                     with limits of liability that are less than
  SECTION III.      LIMITS OF INSURANCE                              your "retained limit", you shall bear the
                                                                     risk of the difference. If such limits are
      1. Limits of Insurance shown in the                            greater than your "retained limit", this
         Declarations and the rules below fix the                    Policy is excess of the greater limits.
         most we will pay in excess of your
         "retained limit" regardless of the number                5. Subject to Paragraph 1. above and
         of:                                                         Paragraph 7. below:

          a. Insureds, except in the event that there               a. The Per Occurrence, Wrongful Act or
             are multiple "municipalities" as Named                    Employee Benefit Wrongful Act Limit of
             Insureds, the Limits of Insurance shall                   Insurance stated in the Declarations is
             apply separately to each "municipality"                   the most we will pay for the sum of all
             insured under this Policy;                                damages in "ultimate net loss" for:

           b. "Claims" made or "suits" brought; or                        (1) "Bodily injury" or "property
                                                                              damage" arising out of a single
           c. Persons or organizations making                                 "occurrence";
              "claims" or bringing "suits".
                                                                          (2) A single "wrongful act"; or
      2. The "retained limit" stated in the
         Declarations applies:                                            (3) A single "employee benefit
                                                                              wrongful act".
          a. Only to damages for "occurrences",
             losses for "wrongful acts", losses for                 b. The Employment Practice Liability
             "employment practice liability wrongful                   Wrongful Act Limit of Insurance stated
             acts", or losses for "employee benefit                    in the Declarations is the most we will
             wrongful acts" covered under this                         pay for the sum of all damages in
             Policy;                                                   "ultimate net loss" for a single
                                                                       "employment practice liability wrongful
          b. Separately to each "occurrence",                          act".
             "wrongful act", "employment practice
             liability wrongful act" or "employee                 6. In determining the Limits of Insurance
             benefit wrongful act" or series of                      that apply:
             continuous, repeated, or related
             "occurrences", "wrongful acts",                          a. All "occurrences" arising out of
             "employment practice liability wrongful                     continuous, repeated, or related
             acts" or "employee benefit wrongful                         "occurrences" shall be treated as a
             acts"; and                                                  single "occurrence" and Limits of
                                                                         Insurance in effect at the first
           c. Separately to each "municipality"                          occurrence shall apply;
              insured under this Policy in the event
              that there are multiple                                 b. All "wrongful acts" arising out of
              "municipalities" as Named Insureds.                        continuous, repeated, or related
                                                                         "wrongful acts" shall be treated as a
     3.    We will pay any sums covered under                            single "wrongful act" and Limits of
           this Policy only after your "retained limit"                  Insurance in effect at the time of the
           has been exhausted by means of                                first "wrongful act" shall apply;
           payments for judgments, settlements,
           defense costs or "covered first-party                      c. All "employment practice liability
           automobile expense" for "claims" and                          wrongful acts" arising out of
           "suits" subject to Paragraph 2. above.                        continuous, repeated, or related


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              "employment practice liability               SECTION IV. GENERAL CONDITIONS
              wrongful acts" shall be treated as a
              single "employment practice liability             1. Appeals
              wrongful act" and Limits of
              Insurance in effect at the time of the                If the "underlying insurer" or insured
              first "employment practice liability                  elects not to appeal a judgment in
              wrongful act" shall apply;                            excess of your "retained limit", we may
                                                                    do so at our own expense. We will not
          d. All "employee benefit wrongful acts"                   be liable for any award or judgment that
             arising out of continuous, repeated,                   exceeds the Limits of Insurance as
             or related "employee benefit                           stated in the Declarations.
             wrongful acts" shall be treated as a
             single "employee benefit wrongful                  2. Bankruptcy or Insolvency
             act" and Limits of Insurance in effect
             at the time of the first "employee                   Bankruptcy or insolvency of the insured,
             benefit wrongful act" shall apply.                   the insured's estate, or the "underlying
                                                                  insurer" will not relieve us of our
     7. Subject to 1. above, the Aggregate Limits                 obligations under this Policy.
        stated in the Declarations apply as shown
        below:                                                    However, this insurance will not drop down
                                                                  or replace the "retained limit" in the event
        a. Products-Completed Operations                          of bankruptcy or insolvency of the
           Hazard Aggregate- The Aggregate                        "underlying insurer" or of the insured, or
           Limit of this insurance is the most we                 assume any obligation associated with
           will pay for all damages arising out of                your "retained limit". This insurance will
           the "products-completed operations                     apply as if the "retained limit" were in full
           hazard".                                               effect.

        b. Errors and Omissions Liability                       3. Duties in The Event of an
           Aggregate- The Aggregate Limit of this                  "Occurrence", "Wrongful Act",
           insurance is the most we will pay for all               "Employment Practice Liability
           damages arising out of all "wrongful                    Wrongful Act", "Employee Benefit
           acts", other than any "personal injury                  Wrongful Act" or "Claim" or `Suit"
           offense" and any "advertising injury
           offense".                                                a. You must see to it that we are
                                                                       notified as soon as practicable of an
        c. Employment Practice Liability                               "occurrence", "wrongful act",
           Aggregate- The Aggregate Limit of this                      "employment practice liability
           insurance is the most we will pay for all                   wrongful act", or "employee benefit
           damages arising out of all "employment                      wrongful act", regardless of the
           practice liability wrongful acts".                          amount, which may result in a
                                                                       "claim". To the extent possible,
        d. Employee Benefit Liability Aggregate-                       notice should include:
           The Aggregate Limit of this insurance
           is the most we will pay for all damages                      (1) How, when and where the
           arising out of all "employee benefit                             "occurrence", "wrongful act",
           wrongful acts".                                                  "employment practice liability
                                                                            wrongful act", or "employee
     8. Limits of Insurance apply separately to                             benefit wrongful act" took place;
        each consecutive annual period. The
        Policy Period begins with the effective                         (2) The names and addresses of
        date shown in the Declarations. If the                              any injured persons and
        Policy Period is extended after issuance                            witnesses; and
        for an additional period of less than twelve
        (12) months, the additional period will be                      (3) The nature and location of any
        deemed part of the last preceding period.                           injury or damage arising out of
                                                                            the "occurrence", "wrongful act",



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                   "employment practice liability                     act" or "employee benefit wrongful
                   wrongful act", or "employee                        acts" for "claims" or "suits" of which you
                   benefit wrongful act".                             become aware which involve:

         b.    If a "claim" is made or "suit" is                      (1)A serious case where, in which your
               brought against any insured, you                           judgment or the judgment of your
               must:                                                      defense counsel, the exposure may
                                                                          exceed 50% of your "retained limit";
              (1) Immediately record the specifics                    (2)A demand or demands totaling 50%
                  of the "claim" or "suit" and the                        of your "retained limit" or more;
                  date received; and                                  (3) Death;
                                                                      (4) Paralysis, paraplegia, quadriplegia;
              (2) Notify us as soon as practicable.                   (5) Loss of eye(s) or limb(s);
                                                                      (6) Spinal cord or brain injury;
         c. You and any other involved insured                        (7) Sensory organ or nerve injury, or
            must:                                                         neurological deficit;
                                                                      (8)     Serious burns;
              (1) Cooperate with the "underlying                      (9) Sexual abuse or molestation;
                  insurers" as required by their                     (10)     Substantial disability or
                  terms and conditions;                                   disfigurement; or
                                                                     (11)     Loss of work time of six months
              (2) Pursue all rights of contribution                       or more.
                  or indemnity against any person
                  or organization who may be                       f. Such notice is to be sent with all
                  liable to you because of "bodily                     pertinent facts as respect SECTION
                  injury", "property damage",                          IV. CONDITIONS, paragraphs 3.a
                  "personal injury offense",                           through 3.e. to the name and address
                  "advertising injury offense",                        listed in the Declarations, Item 6.A.
                  "wrongful act", "employment
                  practice liability wrongful acts",             4. Legal Actions Against Us
                  or "employee benefit wrongful
                  act" under this Policy or any
                                                                   No person or organization has a right
                  "underlying insurance". This                     under this Policy:
                  condition, however, shall not
                  apply to the self insured
                  retention of the "retained limit".               a. To join us as a party or otherwise
                                                                      bring us into a "suit" asking for
         d. When we believe that a "claim" or                         damages from an insured; or
            "suit" may exceed the "retained
            limit", we may join you and, if                        b. To sue us on this Policy unless all of
            applicable, the "underlying insurer"                      its terms have been fully complied
            in the investigation, settlement and                      with.
            defense of all "claims" and "suits" in
            connection with such "occurrence",                       A person or organization may sue us to
            "wrongful act", "employment practice                     recover on an agreed settlement or on a
            liability wrongful act", or "employee                    final judgment against an insured; but
            benefit wrongful act". In such event,                    we will not be liable for damages that are
            we and you will cooperate fully with                     not payable under the terms of this
            each other.                                              Policy or that are in excess of the
                                                                     applicable Limit of Insurance. An agreed
        e. Special Serious "Claims" Reporting                        settlement means a settlement and
           Requirements                                              release of liability signed by us, the
                                                                     insured and the claimant or the
                                                                     claimant's legal representative.
           You must see to it that we receive
           written notice as soon as practicable of
           all "occurrences", "wrongful acts",                       This insurance does not give anyone the
                                                                     right to add us as a defendant in an
           "employment practice liability wrongful



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          action against you to determine your                      b. Separately to each insured against
          liability.                                                   whom a "claim" is made or "suit"
                                                                       brought.
      5. Other Insurance
                                                                9. Transfer of Rights Of Recovery
          This insurance is excess over, and shall                 Against Others To Us
          not contribute with any of the other valid
          insurance or group coverage under a                       If the insured has rights to recover all or
          joint powers authority, whether primary,                  part of any payment we have made
          excess, contingent or on any other                        under this Policy, those rights are
          basis. This condition will not apply to                   transferred to us. The insured must do
          insurance specifically written as excess                  nothing after loss to impair them. At our
          over this Policy.                                         request, the insured will bring "suit" or
                                                                    transfer those rights to us and help us
      6. Policy Period                                              enforce them.

          The Policy Period commences on the                        Recoveries will be applied in the
          effective date shown in the Declarations.                 following order:
          The period ends on the earlier of either
          the expiration date or the effective date                 a. First, to reimburse any interests
          of cancellation of this Policy. If you                       (including those of the insured) that
          became an insured under this Policy                          may have paid any amounts in
          after the effective date, the Policy Period                  excess of our liability under this
          begins on the date you became an                             Policy;
          insured.
                                                                    b. Then, to reimburse us for all
     7.   Representations Or Fraud                                     amounts paid under this Policy; and

          By accepting this Policy, you agree:                      c. Finally, to reimburse all other
                                                                       interests (including those of the
          a. The statements in the Declarations                        insured) with respect to the
             are accurate and complete;                                remaining amounts, if any.
                                                                    The expenses of the recovery will be
          b. Those statements are based upon
                                                                    distributed in proportion to the share of
             representations you made to us;
                                                                    each party's recovery. But, if we
                                                                    conduct the recovery proceedings by
          c. We have issued this Policy in
                                                                    ourselves:
             reliance upon your representations;
             and
                                                                    a. We will pay all expenses; and
          d. This Policy is void in any case of
                                                                    b. If we make a recovery, we will be
             fraud by you as it relates to this
                                                                       reimbursed in full from the recovery
             Policy or any "claim" under this
                                                                       for our expenses before the
             Policy.
                                                                       recovery is distributed.

      8. Separation of Insureds                                10. When We Do Not Renew
          Except with respect to the SECTION III.                   If we decide not to renew this Policy, we
          LIMITS OF INSURANCE and any rights                        will mail or deliver to the first Named
          or duties specifically assigned in this                   Insured shown in the Declarations
          Policy to the first Named Insured, this                   written notice of the nonrenewal not less
          insurance applies:                                        than thirty (30) days before the
                                                                    expiration date. If notice is mailed, proof
          a. As if each Named Insured were the                      of mailing will be sufficient proof of
             only Named Insured; and                                notice.




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      11. Arbitration                                            15. Minimum Premium And Minimum
                                                                     Earned Premium
        Any dispute arising from or relating to this
        Policy shall be submitted to arbitration.                     Earned premium shall be subject to the
        Either party may commence arbitration by                      Minimum Premium and the Minimum
        making a written demand to the other.                         Earned Premium, as stated in the
                                                                      Declarations. In the event of cancellation
        When this demand is made, each party                          by the insured, there will be no return of
        will select an arbitrator. The two                            any portion of the Minimum Earned
        arbitrators will select a third. If they cannot               Premium.
        agree within thirty (30) days, either may
        request that selection be made by a judge           SECTION V.       DEFINITIONS
        of a court having jurisdiction. Each party
        will:                                               A.    "Administration" means:

        1. Pay the expenses it incurs, including                 1. Providing information to "employees",
           the expenses of the arbitrator it                        including their dependents and
           appoints; and                                            beneficiaries, with respect to eligibility for
                                                                    or scope of the "employee benefit
        2. Bear the expenses of the third                           program";
           arbitrator equally.
                                                                 2. Handling records in connection with the
        Unless both parties agree otherwise,                        "employee benefit program"; or
        arbitration will be in the county or parish in
        which the address shown in the                            3. Effecting, continuing or terminating any
        Declarations is located, and the panel will                  "employee's" participation in any benefit
        be relieved of any strict rules of procedure.                included in the "employee benefit
        A decision agreed to by two of the                           program".
        arbitrators will be binding and final.
                                                                 However, "administration" does not include
      12. Named Insureds                                         handling of payroll deductions.

          The Named Insureds jointly and                     B."Advertisement" means a notice that is
          severally agree to make any premium                  broadcast or published to the general public
          payments in full if the First Named                  or specific market segments about your
          Insured fails to pay the amount due                  goods, products or services for the purpose
          within thirty (30) days after we give a              of attracting customers or supporters. For the
          written demand for payment to the First              purposes of this definition:
          Named Insured.
                                                                 1. Notices that are published include material
      13. Our Right of Approval                                     placed on the Internet or on similar
                                                                    electronic means of communication; and
          We reserve the right to approve defense
          counsel for "claims" or "suits" likely to              2. Regarding websites, only that part of a
          exceed your "retained limit".                             website that is about your goods, products
                                                                    or services for the purposes of attracting
      14. Endorsements To This Policy                               customers or supporters is considered an
                                                                    "advertisement".
          Reference to Commercial Liability
          Umbrella Coverage Part or Commercial              C. "Advertising injury offense" means any act,
          Excess Liability Coverage Part in any                error, or omission constituted by one or more
          endorsement that is attached to or made              of the following:
          a part of this Policy shall apply to this
          Policy.                                                1. Oral or written publication, in any
                                                                    manner, of material that slanders or
                                                                    libels a person or organization, or




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            disparages a person's or organization's           J. "Coverage Terrority" means anywhere in the
            goods, products, or services;                        world with the exception of any country or
                                                                 jurisdiction which is subject to trade or other
        2. Oral or written publication, in any                   economic sanction or embargo by the United
           manner, of material that violates a                   States of America, but only if a "claim" is
           person's right of privacy;                            made and a "suit" is brought for such
                                                                 "occurrence", "wrongful act", or "employee
        3. Misappropriation of advertising ideas or              practice liability wrongful act" and "employee
           style of doing business; or                           benefit wrongful act" in the United States of
                                                                 America.
        4. Infringing upon another's copyright,
           trade dress or slogan.                             K. "Dam" means any artificial barrier together
                                                                 with appurtenant works, which does or may
  D. "Airport facility" means an airfield, runway,               impound or divert water and which is either
     hangar, or other aviation activity related                  (a) twenty five (25) feet or more in height
     buildings or properties, including parking lots             from the natural bed of the stream or
     and garages.                                                watercourse at the downstream toe of the
                                                                 barrier, or from the lowest elevation of the
  E. "Automobile" or "Auto" means;                               outside limit of the barrier, if it is not across a
                                                                 stream channel of watercourse, to the
       1. A land motor vehicle, trailer or semitrailer           maximum possible water storage elevation;
          designed for travel on public roads,                   or (b) has an impounding capacity of fifty
          including any attached machinery or                    (50) acre feet or more. Any such barrier
          equipment;                                             which is not in excess of twenty five (25) feet
                                                                 in height regardless of storage capacity, or
       2. Any other land vehicle that is subject to a            which has a storage capacity not in excess
          compulsory or financial responsibility law             of fifteen (15) acre feet regardless of height,
          or other motor vehicle insurance law                   shall not be considered a "dam".
          where it is licensed or principally garaged;
          or                                                  L. "Employee" includes a "leased worker".

       3. Such land motor vehicles used in a transit          M. "Employee benefit program" means a
          or public transportation system operating              program providing some or all of the
          over non-fixed routes as provided in the               following benefits to "employees", whether
          exception provisions of Exclusion 24.                  provided through a "cafeteria plan" or
                                                                 otherwise:
  F. "Bodily Injury" means bodily injury, disability,
     sickness, or disease sustained by a person,                   1. Group life insurance, group accident or
     including care, loss of services and death                       health insurance, dental, vision and
     resulting from any of these at any time.                         hearing plans, and flexible spending
     "Bodily injury" includes mental anguish,                         accounts, provided that no one other
     mental injury, humiliation, shock or death if                    than an "employee" may subscribe to
     resulting from "bodily injury".                                  such benefits and such benefits are
                                                                      made generally available to those
  G. "Cafeteria plans" means plans authorized by                      "employees" who satisfy the plan's
     applicable law to allow employees to elect to                    eligibility requirements;
     pay for certain benefits with pre-tax dollars.
                                                                  2. Profit sharing plans, employee savings
  H. "Claim(s)" means a demand for money and                         plans, employee stock ownership plans,
      includes a "suit".                                             pension plans and stock subscription
                                                                     plans, provided that no one other than an
  I.    "Covered first-party automobile expenses"                    "employee" may subscribe to such
       means the minimum legally mandated                            benefits and such benefits are made
       "automobile" personal injury protection (PIP)                 generally available to all "employees" who
       expenses.                                                     are eligible under the plan for such
                                                                     benefits;




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     3. Unemployment insurance, social security            P. "First aid" means the immediate and
        benefits, workers' compensation and                   emergency care given to an ill or injured
        disability benefits; and                              person before regular medical aid can be
                                                              obtained.
     4. Vacation plans, including buy and sell
        programs; leave of absence programs,               Q. "Hired automobile" means an "automobile"
        including military, maternity, family, and            you lease, hire, rent or borrow. This does not
        civil leave; tuition assistance plans;                include any "automobile" owned by you,
        transportation and health club subsidies.             under a long term (12 months or more)
                                                              lease to you, or hired, rented, or borrowed
  N. "Employee benefit wrongful act" means any                from any of your "employees", partners,
     actual or alleged negligent act, error, or               members or members of their households.
     omission in the "administration" of your
     "employee benefit program".                           R. "Hostile fire" means a fire that becomes
                                                              uncontrollable or breaks out from where it is
  O. "Employment practice liability wrongful act"             intended to be.
     means any actual or alleged negligent error
     or omission resulting in loss to:                     S. "Insured contract" means:

     1. A person arising out of any:                            1. A contract for a lease of premises
         a. Refusal to employ that person;                         including but not limited to premises
                                                                   rented or loaned to you;
          b. Termination of that person's
             employment;                                        2. A sidetrack agreement;

          c. Employment related practices,                      3. Any easement or license agreement;
             policies, acts or omissions,
             including, but not limited to,                     4. An obligation, as required by ordinance;
             coercion, demotion, evaluation,
             "retaliation", reassignment,                       5. An elevator maintenance agreement;
             discipline, defamation, harassment,
             failure to promote, humiliation,                   6. That part of any other contract or
             discrimination directed at that                       agreement pertaining to your business
             employee; or                                          under which you assume the tort liability
                                                                   of another party to pay for "bodily injury"
          d. Acts or omissions as described in                     or for "property damage", for a "wrongful
             1.c. herein directed at a "whistle-                   act" from a "personal injury offense" to a
             blower"; or                                           third person or organization or
                                                                   "employment related practice wrongful
      2. The spouse, child, parent, brother or                     act". Tort liability means a liability that
         sister of that person as a consequence                    would be imposed by law in the absence
         of loss to that person to whom any of the                 of any contract or agreement.
         employment-related practices described
         in paragraphs. 1.a., 1.b., or 1.c. is                      Paragraph 6. does not include that part
         directed.                                                  of any contract or agreement:

      This coverage applies:                                        a. That indemnifies a railroad for
                                                                       "bodily injury" or "property damage"
      1. Whether the insured may be liable as an                       arising out of construction or
         employer or in any other capacity; and                        demolition operations, within fifty
                                                                       (50) feet of any railroad property and
      2. To any obligation to share damages with                       affecting any railroad bridge or
         or repay someone else who must pay                            trestle, tracks, road-beds, tunnel,
         damages because of the injury.                                underpass or crossing;

                                                                    b. That pertains to the loan, lease or
                                                                       rental of an "automobile" to you or


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              any of your "employees", if the                    that is not attached to the aircraft, watercraft
              "automobile" is loaned, leased or                  or "automobile".
              rented with a driver;
                                                            W. "Municipality" means a legally incorporated
          c. That holds a person or organization               or duly authorized association of inhabitants
             engaged in the business of                        of a limited area limited to the following: city,
             transporting property by                          town, county, village, township, parish,
             "automobile" for hire harmless for                borough, hamlet, burgh, or state, and the
             your use of an "automobile" over a                special districts, authorities and bureaus
             route or territory that person or                 directly related to such entities.
             organization is authorized to serve
             by public authority; or                        X. "Occurrence" means an accident, including
                                                               continuous or repeated exposure to
          d. That indemnifies an architect,                    substantially the same general harmful
             engineer, or surveyor, his agents or              conditions.
             "employees", for injury or damage
             arising out of preparing, approving            Y. "Owned automobile" means an "automobile"
             or failing to prepare or approve                  you own or under long term (12 months or
             maps, drawings, opinions, reports,                longer) lease to you.
             surveys, change orders, designs, or
             specifications or giving directions or         Z. "Personal injury offense" means any act,
             instructions, or failing to give them, if         error, or omission constituted by or arising
             that is the primary cause of the                  out of one or more of the following:
             injury or damage.
                                                                 1. False arrest, detention or imprisonment;
  T. "Joint powers authority(ies)" means two (2)
     or more public agencies joined together by a                2. Malicious prosecution;
     joint agreement in order to jointly exercise
     any power common to the contracting                         3. Oral or written publication, in any
     parties, including, but not limited to the                     manner, of material that slanders or
     power to create risk pooling and joint                         libels a person or organization, or
     purchase of private insurance.                                 disparages a person or organization's
                                                                    goods, products, or services;
  U. "Leased worker" means a person leased to
     you by a labor leasing firm under an                        4. The wrongful eviction from, wrongful
     agreement between you and the labor                            entry into, or invasion of the right of
     leasing firm, to perform duties related to the                 private occupancy of a room, dwelling,
     conduct of your business.                                      or premises that a person occupies
                                                                    committed by or on behalf of its owner,
  V. "Loading or unloading" means the handling                      landlord or lessor;
     of property:
                                                                 5. Violation of an individual's person's right
     1. After it is moved from the place where it                   to privacy; or
        is accepted for movement into or onto an
        aircraft, watercraft or "automobile";                    6. Assault and battery.

     2. While it is in or on an aircraft, watercraft        AA."Pollutants" means any solid, liquid, gaseous
        or "automobile"; or                                    or thermal irritant or contaminant, including
                                                               smoke, vapor, soot, fumes, acids, alkalis,
      3. While it is being moved from an aircraft,             chemicals and waste. Waste includes
         watercraft or "automobile" to the place               materials which are intended to be or have
         where it is finally delivered;                         been recycled, reconditioned or reclaimed.

      but "loading or unloading" does not include                "Pollutants" does not include potable water,
      the movement of property by means of a                     water distributed to the consumer intended
      mechanical device, other than a hand truck,                to be potable water, agricultural water, or
                                                                 water furnished to commercial users, or



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      water used for fire suppression. "Pollutants"
      also does not include smoke or fumes from            CC."Property damage" means:
      a "hostile fire".
                                                                1. Physical injury to tangible property,
  BB."Products-completed operations hazard":                       including all resulting loss of use of that
                                                                   property. All such loss of use shall be
     1. Includes all "bodily injury" and "property                 deemed to occur at the time of the
        damage" occurring away from premises                       physical injury that caused it; or
        you own or rent and arising out of "your
        product" or "your work" except:                         2. Loss of use of tangible property that is
                                                                   not physically injured or destroyed. All
          a. Products that are still in your                       such loss of use shall be deemed to
             physical possession; or                               occur at the time of the "occurrence" that
                                                                   caused it.
          b. Work that has not yet been
             completed or abandoned. However,                   For the purposes of this insurance,
             "your work" will be deemed                         electronic data is not tangible property.
             completed at the earliest of the
             following times:                                  As used in this definition, electronic data
                                                               means information, facts or programs stored
              (1) When all of the work called for              as or on, created or used on, or transmitted
                  in your contract has been                    to or from computer software, including
                  completed;                                   systems and applications software, hard or
                                                               floppy disks, CD-ROMS, tapes, drives, cells,
              (2) When all of the work to be done              data processing devices or any other media
                  at the job site has been                     which are used with electronically controlled
                  completed if your contract calls             equipment.
                  for work at more than one job
                  site; or                                 DD."Public entity" refers to that "municipality",
                                                              governmental body, department, or unit,
              (3) When that part of the work done             which is a Named Insured in the
                  at a job site has been put to its           Declarations.
                  intended use by any person or
                  organization other than another          EE. "Retained limit" refers to the amount stated
                  contractor or subcontractor                  in the Declarations. This amount may
                  working on the same project.                 consist of a self-insured retention,
                                                               "underlying insurance", or a combination
              Work that may need service,                      thereof. The "retained limit" will be the sum
              maintenance, correction, repair or               of all damages in "ultimate net loss" for:
              replacement, but which is otherwise
              complete, will be treated as                      1. "Bodily injury" or "property damage"
              completed.                                           arising out of each such "occurrence";

      2. Does not include "bodily injury" or                    2. Each such "wrongful act";
         "property damage" arising out of:
                                                                3. Each such "employment practice liability
        a. The transportation of property, unless                  wrongful act"; or
           the injury or damage arises out of a
           condition in or on a vehicle not owned              4. Each such "employee benefit wrongful
           or operated by you, and that condition                 act".
           was created by the "loading or
           unloading" of that vehicle by any                    In determining the "retained limit" that
           insured; or                                          applies:

        b. The existence of tools, uninstalled                  i.   All "occurrences" arising out of
           equipment or abandoned or unused                          continuous, repeated, or related
           materials.                                                "occurrences" shall be treated as a



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          single "occurrence" and the "retained                       other insured in which damages are
          limit" in effect at the first occurrence                    claimed;
          shall apply.
                                                                  4. Testified against you or any other
      ii. All "wrongful acts" arising out of                         insured at a legal proceeding;
          continuous, repeated, or related
          "wrongful acts" shall be treated as a                   5. Declined to perform an illegal or
          single "wrongful act" and the "retained                    unethical act; or
          limit" in effect at the time of the first
          "wrongful act" shall apply.                             6. Exercised their right to strike against
                                                                     you.
      iii. All "employment practice liability
           wrongful acts" arising out of continuous,         GG."Subsidence" means land or earth
           repeated, or related "employment                    movement, including, but not limited to,
           practice liability wrongful acts" shall be          sinking or settling of land, earthquake, earth
           treated as a single "employment practice            movement, earth expansion and/or
           liability wrongful act" and the "retained           contraction, landslide, slipping, falling away,
           limit" in effect at the time of the first           caving in, eroding, earth sinking, and earth
           "employment practice liability wrongful             rising or shifting or tilting.
           act" shall apply.
                                                             HH."Suit" means a civil proceeding in which
      iv. All "employee benefit wrongful acts"                  damages because of "bodily injury" or
          arising out of continuous, repeated, or               "property damage", "wrongful act",
          related "employee benefit wrongful acts"              "employment practice liability wrongful act"
          shall be treated as a single "employee                or "employee benefit wrongful act" to which
          benefit wrongful act" and the "retained               this insurance applies are alleged. "Suit"
          limit" in effect at the time of the first             includes:
          "employee benefit wrongful act" shall
          apply.                                                  1. An arbitration proceeding in which such
                                                                     damages are claimed and to which the
      The "retained limit", with respect to a self-                  insured must submit or does submit with
      insured retention, shall include defense                       our consent; or
      costs. The "retained limit", however, shall not
      include salaries of your "employees", your                  2. Any other alternative dispute resolution
      office expenses, or expenses of any claims                     proceeding in which such damages are
      servicing organization that you have                           claimed and to which you submit with
      engaged.                                                       our consent.

  FF.      "Retaliation" means an "employment                II. "Ultimate net loss" means the total sum,
     practice liability wrongful act" of yours relating          after reduction for recoveries or salvages
     to or alleged to be in response to an                       collectible, actually paid or payable due to a
     employee who has:                                           "claim" or "suit" for which you are liable
                                                                 either by a settlement to which we agreed or
      1. Notified a superior or proper authority of              a final judgment, and shall include defense
         any aspect of your business operation                   costs.
         which is illegal;
                                                             JJ."Underlying insurance" refers to any policies
      2. Attempted or actually exercised any right              listed in the Schedule of Underlying Insurance
         that such "employee" has under law,                    and includes:
         including rights under worker's
         compensation laws, the Family and                        1. Any renewal or replacement of such
         Medical Leave Act, the Americans with                       policies;
         Disabilities Act or any other law relating
         to "employee" rights;                                    2. Any other insurance available to the you;
                                                                     and
      3. Filed a complaint with a governmental
         authority or a "suit" against you or any



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      3. Any other valid and collectible risk                    "Wrongful act" also means any "personal
         financing mechanism provided under a                    injury offense" or "advertising injury offense".
         "joint power authority".
                                                                 "Wrongful act" does not include
  KK."Underlying insurer" means any insurer                      "employment practice liability wrongful act"
     which provides any policy listed in the                     or "employee benefit wrongful act".
     Schedule of Underlying Insurance and
     includes any insurer which provides any                OO. "Your Product"
     renewal or replacement of such policies and
     any insurer which provides any other primary                1. Means:
     insurance available to you.
                                                                     a. Any goods or products, other than
  LL. "Volunteer Worker" means a person who is                          real property, manufactured, sold,
      not your "employee", and who donates his or                       handled, distributed or disposed of
      her work and acts at the direction of and                         by:
      within the scope of duties determined by
      you, and is not paid a fee, salary or other                        (1) You;
      compensation by you or anyone else for their
      work performed for you.                                            (2) Others trading under your name;
                                                                             or
  MM. "Whistle-blower" means an "employee",
    who discloses or threatens to disclose to a                          (3) A person or organization whose
    superior or any governmental agency, or                                  business or assets you have
    who gives testimony relating to any action by                            acquired; and
    you, which may be a violation of public policy
    as reflected in legislation, administrative                      b. Containers (other than vehicles),
    rules, regulations or decisions, judicial                           materials, parts or equipment
    decisions, or professional codes of ethics.                         furnished in connection with such
                                                                        goods or products;
  NN."Wrongful act" means:
                                                                 2. Includes:
     Any actual or alleged error or misstatement,
     omission, negligent act, or breach of duty                      a. Warranties or representations made
     including misfeasance, malfeasance, and                            at any time with respect to the
     nonfeasance by you, including, but not                             fitness, quality, durability,
     limited to, those constituted by:                                  performance or use of "your
                                                                        product";
      1. Any violation of antitrust statutes;
                                                                     b. The providing of or failure to provide
      2. Any negligent ministerial act;                                 warnings or instructions;

      3. Any faulty preparation or approval of
         maps, plans, reports, surveys, designs,
         bid documents, bid specifications, other
         specifications, or inaccuracies due to
         estimates of probable costs, but only if
         any of these services are provided by
         any insured for another insured; or

      4. Discrimination on any basis, including,
         but not limited to: race, creed, religion,
         ethnic background, national origin, age,
         handicap, sex or sexual orientation; but
         not intentionally committed by you or at
         your direction.




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  PP. "Your Work"

      1. Means:

         a. Work or operations performed by
            you or on your behalf; and

         b. Materials, parts or equipment
            furnished in connection with such
            work or operations.

      2. Includes:

         a. Warranties or representations made
            at any time with respect to the
            fitness, quality, durability,
            performance or use of "your work";

         b. The providing of or failure to provide
             warnings or instructions.




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POLICY NUMBER: 71P2000037-101                                             COMMERCIAL LIABILITY UMBRELLA
                                                                                            CU 02 23 11 04

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               CALIFORNIA CHANGES - CANCELLATION
                       AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART

A. Paragraphs 2. and 3. of the Cancellation Com-                    (3) A judgment by a court or an administra-
   mon Policy Condition are replaced by the following:                  tive tribunal that you have violated a
   2. All Policies In Effect For 60 Days Or Less                        California or Federal law, having as one
                                                                        of its necessary elements an act which
      If this policy has been in effect for 60 days or                  materially increases any of the risks in-
      less, and is not a renewal of a policy we have                    sured against.
      previously issued, we may cancel this policy by
      mailing or delivering to the first Named Insured              (4) Discovery of willful or grossly negligent
      at the mailing address shown in the policy and                    acts or omissions, or of any violations of
      to the producer of record, advance written no-                    state laws or regulations establishing
      tice of cancellation, stating the reason for can-                 safety standards, by you or your repre-
      cellation, at least:                                              sentative, which materially increase any
                                                                        of the risks insured against.
      a. 10 days before the effective date of cancel-
         lation if we cancel for:                                   (5) Failure by you or your representative to
                                                                        implement reasonable loss control re-
         (1) Nonpayment of premium; or                                  quirements, agreed to by you as a condi-
         (2) Discovery of fraud by:                                     tion of policy issuance, or which were
            (a) Any insured or his or her representa-                   conditions precedent to our use of a par-
                tive in obtaining this insurance; or                    ticular rate or rating plan, if that failure
                                                                        materially increases any of the risks in-
            (b) You or your representative in pursu-                    sured against.
                ing a claim under this policy.
                                                                    (6) A determination by the Commissioner of
      b. 30 days before the effective date of cancel-                   Insurance that the:
          lation if we cancel for any other reason.
                                                                          (a) Loss of, or changes in, our reinsur-
   3. All Policies In Effect For More Than 60 Days                            ance covering all or part of the risk
      a. If this policy has been in effect for more                           would threaten our financial integrity
         than 60 days, or is a renewal of a policy we                         or solvency; or
         issued, we may cancel this policy only upon                      (b) Continuation of the policy coverage
         the occurrence, after the effective date of                          would:
         the policy, of one or more of the following:
                                                                              (i) Place us in violation of California
        (1) Nonpayment of premium, including                                      law or the laws of the state where
             payment due on a prior policy we issued                              we are domiciled; or
             and due during the current policy term
             covering the same risks.                                        (ii) Threaten our solvency.
         (2) Discovery of fraud or material misrepre-               (7) A change by you or your representative
                                                                        in the activities or property of the com-
             sentation by:
                                                                        mercial or industrial enterprise, which
            (a) Any insured or his or her representa-                   results in a materially added, increased
                tive in obtaining this insurance; or                    or changed risk, unless the added, in-
            (b) You or your representative in pursu-                    creased or changed risk is included in
                ing a claim under this policy.                          the policy.




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        (8) A material change in limits, type or                    (2) 30 days before the effective date of
            scope of coverage, or exclusions in one                     cancellation if we cancel for any other
            or more of the underlying policies.                         reason listed in Paragraph 3.a.
        (9) Cancellation or nonrenewal of one or           B. The following is added and supersedes any provi-
            more of the underlying policies where             sions to the contrary:
            such policies are not replaced without            NONRENEWAL
            lapse.
                                                              1. If we elect not to renew this policy, we will mail
       (10) A reduction in financial rating or grade of          or deliver written notice stating the reason for
            one or more insurers, insuring one or                nonrenewal to the first Named Insured shown
            more underlying policies based on an                 in the Declarations and to the producer of re-
            evaluation obtained from a recognized                cord, at least 60 days, but not more than 120
            financial rating organization.                       days, before the expiration or anniversary date.
      b. We will mail or deliver advance written                  We will mail or deliver our notice to the first
         notice of cancellation, stating the reason for           Named Insured, and to the producer of record,
         cancellation, to the first Named Insured, at             at the mailing address shown in the policy.
         the mailing address shown in the policy, and
         to the producer of record, at least:
        (1) 10 days before the effective date of
            cancellation if we cancel for nonpayment
            of premium or discovery of fraud; or




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POLICY NUMBER: 71P2000037-101                                             COMMERCIAL LIABILITY UMBRELLA
                                                                                            CU 21 30 01 08

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART


If aggregate insured losses attributable to terrorist      "Certified act of terrorism" means an act that is certi-
acts certified under the federal Terrorism Risk Insur-     fied by the Secretary of the Treasury, in concurrence
ance Act exceed $100 billion in a Program Year             with the Secretary of State and the Attorney General
(January 1 through December 31) and we have met            of the United States, to be an act of terrorism pursu-
our insurer deductible under the Terrorism Risk Insur-     ant to the federal Terrorism Risk Insurance Act. The
ance Act, we shall not be liable for the payment of any    criteria contained in the Terrorism Risk Insurance Act
portion of the amount of such losses that exceeds          for a "certified act of terrorism" include the following:
$100 billion, and in such case insured losses up to        1. The act resulted in insured losses in excess of $5
that amount are subject to pro rata allocation in ac-         million in the aggregate, attributable to all types of
cordance with procedures established by the Secre-            insurance subject to the Terrorism Risk Insurance
tary of the Treasury.                                         Act; and
                                                           2. The act is a violent act or an act that is dangerous
                                                              to human life, property or infrastructure and is
                                                              committed by an individual or individuals as part of
                                                              an effort to coerce the civilian population of the
                                                              United States or to influence the policy or affect
                                                              the conduct of the United States Government by
                                                              coercion.




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POLICY NUMBER: 71P2000037-101
                                                                                                    IL 09 85 01 08

    THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
    RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
   INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
  CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

          DISCLOSURE PURSUANT TO TERRORISM RISK
                      INSURANCE ACT
                                                     SCHEDULE

 Terrorism Premium (Certified Acts) $      22,698
 This premium is the total Certified Acts premium attributable to the following Coverage Part(s), Cover-
 age Form(s) and/or Policy(s):
 All coverages under this policy.




 Additional information, if any, concerning the terrorism premium:




 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Disclosure Of Premium                                     C. Cap On Insurer Participation In Payment Of
   In accordance with the federal Terrorism Risk In-            Terrorism Losses
   surance Act, we are required to provide you with a           If aggregate insured losses attributable to terrorist
   notice disclosing the portion of your premium, if            acts certified under the Terrorism Risk Insurance
   any, attributable to coverage for terrorist acts certi-      Act exceed $100 billion in a Program Year (Janu-
   fied under the Terrorism Risk Insurance Act. The             ary 1 through December 31) and we have met our
   portion of your premium attributable to such cov-            insurer deductible under the Terrorism Risk Insur-
   erage is shown in the Schedule of this endorse-              ance Act, we shall not be liable for the payment of
   ment or in the policy Declarations.                          any portion of the amount of such losses that ex-
B. Disclosure Of Federal Participation In Payment               ceeds $100 billion, and in such case insured
   Of Terrorism Losses                                          losses up to that amount are subject to pro rata al-
                                                                location in accordance with procedures estab-
   The United States Government, Department of the              lished by the Secretary of the Treasury.
   Treasury, will pay a share of terrorism losses in-
   sured under the federal program. The federal
   share equals 85% of that portion of the amount of
   such insured losses that exceeds the applicable
   insurer retention. However, if aggregate insured
   losses attributable to terrorist acts certified under
   the Terrorism Risk Insurance Act exceed $100 bil-
   lion in a Program Year (January 1 through De-
   cember 31), the Treasury shall not make any
   payment for any portion of the amount of such
   losses that exceeds $100 billion.




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POLICY NUMBER: 71P2000037-101                                                                         IL 00 17 11 98


                           COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                      b. Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                     and
      tions may cancel this policy by mailing or deliv-              c. Recommend changes.
      ering to us advance written notice of cancella-             2. We are not obligated to make any inspections,
      tion.                                                          surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliver-               such actions we do undertake relate only to in-
      ing to the first Named Insured written notice of               surability and the premiums to be charged. We
      cancellation at least:                                         do not make safety inspections. We do not un-
      a. 10 days before the effective date of cancel-                dertake to perform the duty of any person or
          lation if we cancel for nonpayment of pre-                 organization to provide for the health or safety
          mium; or                                                   of workers or the public. And we do not warrant
                                                                     that conditions:
      b. 30 days before the effective date of cancel-
          lation if we cancel for any other reason.                  a. Are safe or healthful; or
   3. We will mail or deliver our notice to the first                b. Comply with laws, regulations, codes or
      Named Insured's last mailing address known to                     standards.
       US.                                                       3. Paragraphs 1. and 2. of this condition apply not
   4. Notice of cancellation will state the effective               only to us, but also to any rating, advisory, rate
      date of cancellation. The policy period will end              service or similar organization which makes in-
      on that date.                                                 surance inspections, surveys, reports or rec-
                                                                    ommendations.
   5. If this policy is cancelled, we will send the first
      Named Insured any premium refund due. If we                4. Paragraph 2. of this condition does not apply to
      cancel, the refund will be pro rata. If the first             any inspections, surveys, reports or recom-
      Named Insured cancels, the refund may be                      mendations we may make relative to certifica-
      less than pro rata. The cancellation will be ef-              tion, under state or municipal statutes, ordi-
      fective even if we have not made or offered a                 nances or regulations, of boilers, pressure ves-
      refund.                                                       sels or elevators.
   6. If notice is mailed, proof of mailing will be suffi-    E. Premiums
      cient proof of notice.                                      The first Named Insured shown in the Declara-
B. Changes                                                        tions:
   This policy contains all the agreements between                1. Is responsible for the payment of all premiums;
   you and us concerning the insurance afforded.                      and
   The first Named Insured shown in the Declarations              2. Will be the payee for any return premiums we
   is authorized to make changes in the terms of this                pay.
   policy with our consent. This policy's terms can be        F. Transfer Of Your Rights And Duties Under This
   amended or waived only by endorsement issued                  Policy
   by us and made a part of this policy.
                                                                 Your rights and duties under this policy may not be
C. Examination Of Your Books And Records                         transferred without our written consent except in
   We may examine and audit your books and re-                   the case of death of an individual named insured.
   cords as they relate to this policy at any time dur-          If you die, your rights and duties will be transferred
   ing the policy period and up to three years after-            to your legal representative but only while acting
   ward.                                                         within the scope of duties as your legal representa-
D. Inspections And Surveys                                       tive. Until your legal representative is appointed,
   1. We have the right to:                                      anyone having proper temporary custody of your
                                                                 property will have your rights and duties but only
       a. Make inspections and surveys at any time;              with respect to that property.




IL 00 17 11 98                    Copyright, Insurance Services Office, Inc., 1998                        Page 1 of 1     ❑
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POLICY NUMBER: 71P2000037-101
                                                                                           EIL 01 510 07 08

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                   POLLUTION CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL EXCESS LIABILITY COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   PROFESSIONAL LIABILITY COVERAGE PART

Any exclusion, limitation or other provision relating to
pollutants ("pollutants"), or any amendment to or
replacement of such exclusions, limitations or other
provisions, applies whether or not the pollutant has
any function in, or is of essential, integral, necessary
or significant use to, your business, operations, prem-
ises, site or location.




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POLICY NUMBER: 71P2000037-101                                              COMMERCIAL LIABILITY UMBRELLA
                                                                                             CU 21 23 02 02

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               NUCLEAR ENERGY LIABILITY EXCLUSION
                         ENDORSEMENT
                                                    (Broad Form)

This endorsement modifies insurance provided under the following:

   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART

I. The insurance does not apply:                                   (2) The "nuclear material" is contained in "spent
   A. Under any Liability Coverage, to "bodily injury"                 fuel" or "waste" at any time possessed,
      or "property damage":                                            handled, used, processed, stored, trans-
                                                                       ported or disposed of, by or on behalf of an
     (1) With respect to which an insured under the                    insured; or
         policy is also an insured under a nuclear
         energy liability policy issued by Nuclear En-             (3) The "bodily injury" or "property damage"
         ergy Liability Insurance Association, Mutual                  arises out of the furnishing by an insured of
         Atomic Energy Liability Underwriters, Nu-                     services, materials, parts or equipment in
         clear Insurance Association of Canada or                      connection with the planning, construction,
         any of their successors, or would be an in-                   maintenance, operation or use of any "nu-
         sured under any such policy but for its ter-                  clear facility", but if such facility is located
         mination upon exhaustion of its limit of liabil-              within the United States of America, its terri-
         ity; or                                                       tories or possessions or Canada, this Ex-
                                                                       clusion (3) applies only to "property dam-
     (2) Resulting from the "hazardous properties"                     age" to such "nuclear facility" and any
          of "nuclear material" and with respect to                    property thereat.
          which (a) any person or organization is re-
          quired to maintain financial protection pur-      II. As used in this endorsement:
          suant to the Atomic Energy Act of 1954, or            "Hazardous properties" includes radioactive, toxic
          any law amendatory thereof, or (b) the in-            or explosive properties.
          sured is, or had this policy not been issued         "Nuclear material" means "source material", "Spe-
          would be, entitled to indemnity from the             cial nuclear material" or "by-product material".
          United States of America, or any agency
          thereof, under any agreement entered into            "Source material", "special nuclear material", and
          by the United States of America, or any              "by-product material" have the meanings given
          agency thereof, with any person or organi-           them in the Atomic Energy Act of 1954 or in any
          zation.                                              law amendatory thereof.
   B. Under any Liability Coverage, to "bodily injury"         "Spent fuel" means any fuel element or fuel com-
      or "property damage" resulting from "hazardous           ponent, solid or liquid, which has been used or ex-
      properties" of "nuclear material", if:                   posed to radiation in a "nuclear reactor".
     (1) The "nuclear material" (a) is at any "nuclear         'Waste" means any waste material (a) containing
          facility" owned by, or operated by or on be-         "by-product material" other than the tailings or
          half of, an insured or (b) has been dis-             wastes produced by the extraction or concentration
          charged or dispersed therefrom;                      of uranium or thorium from any ore processed pri-
                                                               marily for its "source material" content, and (b) re-
                                                               sulting from the operation by any person or organi-
                                                               zation of any "nuclear facility" included under the
                                                               first two paragraphs of the definition of "nuclear fa-
                                                               cility".




CU 21 23 02 02                              © ISO Properties, Inc., 2001                                 Page 1 of 2      ❑
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   "Nuclear facility" means:                                    (d) Any structure, basin, excavation, premises
     (a) Any "nuclear reactor";                                     or place prepared or used for the storage or
                                                                    disposal of "waste";
     (b) Any equipment or device designed or used
         for (1) separating the isotopes of uranium or       and includes the site on which any of the foregoing
         plutonium, (2) processing or utilizing "spent       is located, all operations conducted on such site
         fuel", or (3) handling, processing or packag-       and all premises used for such operations.
         ing "waste";                                        "Nuclear reactor" means any apparatus designed
                                                             or used to sustain nuclear fission in a self-
     (c) Any  equipment or device used for the proc-
                                                             supporting chain reaction or to contain a critical
         essing, fabricating or alloying of "special
         nuclear material" if at any time the total          mass of fissionable material.
         amount of such material in the custody of           "Property damage" includes all forms of radioac-
         the insured at the premises where such              tive contamination of property.
         equipment or device is located consists of
         or contains more than 25 grams of pluto-
         nium or uranium 233 or any combination
         thereof, or more than 250 grams of uranium
         235;




Page 2 of 2                               © ISO Properties, Inc., 2001                          CU 21 23 02 02     ❑
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POLICY NUMBER: 71P2000037-101
                                                                                                        EUM 27 502 05 06

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ADDENDUM TO THE DECLARATIONS
This endorsement modifies insurance provided under the following:

      PUBLIC ENTITIES EXCESS LIABILITY
      COMMERICAL EXCESS LIABILITY COVERAGE PART

The following items are added to the Declarations:

I.       INSURER CONTACT INFORMATION

         If you have questions about your insurance policy, or questions about claims relating to your insurance policy, please
         contact your insurer at the following:

         Everest National Insurance Company
         477 Martinsville Road
         P. O. Box 830
         Liberty Corner, NJ 07938-0830
         (800) 438-4375

II.DEFENSE WITHIN THE LIMITS NOTICE

         NOTICE: AMOUNTS INCURRED FOR LEGAL DEFENSE SHALL REDUCE THE LIMIT OF
         LIABILITY AVAILABLE TO PAY JUDGMENTS OR SETTLEMENTS, AND SHALL BE APPLIED
         AGAINST THE RETENTION AMOUNT.

III.CLAIMS-MADE NOTICE

         NOTICE: IF THIS POLICY OR ANY COVERAGE PROVIDED UNDER THIS POLICY IS ISSUED TO
         YOU ON A CLAIMS-MADE BASIS, COVERAGE IS LIMITED TO LIABILITY FOR CLAIMS FIRST
         MADE AGAINST YOU WHILE THE COVERAGE IS IN FORCE. PLEASE REVIEW THE POLICY
         CAREFULLY AND DISCUSS THIS COVERAGE WITH YOUR INSURANCE AGENT OR BROKER.




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 POLICY NUMBER: 71P2000037-101
                                                                                                 EUM 20 505 05 06

   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


        ADDITIONAL INSURED- INSURED CONTRACT

 This endorsement modifies insurance provided under the following:

        PUBLIC ENTITIES EXCESS LIABILITY


    1. The following is added to SECTION II.                     However, this insurance under this
       WHO IS AN INSURED:                                        endorsement does not apply to:

            Any person(s), entity(ies), or                           i.     Any "occurrence" which takes
            organization(s) to whom the Named                               place prior to or after you cease
            Insured is obligated by virtue of an                            to occupy the premise as stated
            "insured contract" to provide                                   in the "insured contract".
            insurance solely with respect to
            "bodily injury" and "property                            ii.    Any structural alteration, new
            damage" and arising out of:                                     construction or demolition
                                                                            operations performed by or on
            a. Premises leased, used or                                     behalf of the additional insured.
               occupied by you;
                                                                     iii.   Any "wrongful act", "employment
            b. "Automobiles" leased or rented                               practices wrongful act" or any
               by you;                                                      "employee benefit wrongful act".

            c. Equipment owned, leased,                      2. The Limits of Insurance afforded under
               rented, maintained or used by                    this endorsement will be limited to the
               you;                                             Limits of Insurance required within the
                                                                terms of the "insured contract" or the
            d. Mortgagees of a Named                            Limits of Insurance of this Policy,
               Insured; or                                      whichever is less, and will apply in
                                                                excess of any "underlying insurance" or
            e. Property owners and property                     your "retained limit" shown in the
               managers of property owned,                      Declarations. We will not be obligated
               leased, rented or occupied by                    for limits of insurance shown in the
               you.                                             "insured contract" that are greater than
                                                                the Limits of Insurance of this Policy.




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POLICY NUMBER: 71P2000037-101
                                                                                            EUM 02 536 05 06

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

EARLIER NOTICE OF CANCELLATION OR NONRENEWAL
                PROVIDED BY US
This endorsement modifies insurance provided under the following:

   PUBLIC ENTITIES EXCESS LIABILITY
   COMMERICAL EXCESS LIABILITY COVERAGE PART


                                                 SCHEDULE

Number of Days Notice 90


For any statutorily permitted reason other than nonpayment of premium, the number of days required for notice of
cancellation or nonrenewal, as provided in either the Cancellation Condition, When We Do Not Renew Condition
or as amended by an applicable state cancellation endorsement, is increased to the number of days shown in the
Schedule above.




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POLICY NUMBER: 71P2000037-101
                                                                                             EUM 21 723 05 06

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                   EXCLUSION- TIME ELEMENT POLLUTION

This endorsement modifies insurance provided under the following:

       PUBLIC ENTITIES EXCESS LIABILITY



       Exclusion 9. of paragraph D. EXCLUSIONS of SECTION I. COVERAGES is replaced with the following:

       9. a    Any liability arising out of the                                  release or escape of "pollutants"
               actual, alleged or threatened                                     is:
               discharge, dispersal, seepage,                                    (1) Accidental and neither
               migration, release or escape of                                       expected nor intended by
               "pollutants" at any time.                                             you;
                                                                                 (2) Instantaneous and was
           b. Any loss, cost, or expense                                             demonstrated as
              arising out of any:                                                    commencing at a specific
              (1) Request, demand, order,                                            time and date during the
                   statutory     or    regulatory                                    Policy Period;
                   requirement that you, or any                                  (3) Known by you within ten
                   others, test for, monitor,                                        calendar days of date of
                   clean up, remove, contain,                                        commencement;
                   treat, detoxify or neutralize,                                (4) Reported in writing to us
                   or in any way respond to, or                                      within forty calendar days of
                   assess the effects of                                             becoming known to your
                   "pollutants"; or                                                  Risk Manager, or any of
              (2) "Claim" or "suit" by or on                                         your designated Department
                   behalf of a governmental                                          Heads; and
                   authority     for    damages                                  (5) You expend reasonable
                   because of testing for,                                           effort to terminate the
                   monitoring, cleaning up,                                          discharge, dispersal,
                   removing,         containing,                                     release or escape.
                   treating,    detoxifying    or
                   neutralizing, in any way                               d.     Nothing contained in this endorsement
                   responding to, or assessing                                   shall operate to provide any coverage
                   the effects of "pollutants",                                  with respect to:
                   unless such loss, cost, or                                    (1) Any site or location used by
                   expense arising from any                                          you or by another on your
                   spill, release, or other                                          behalf for the handling,
                   hazardous condition at or                                         storage, dispersal, dumping,
                   from       the      premises,                                     processing, or treatment of
                   equipment, or location(s)                                         waste material;
                   which you do not own, rent                                    (2) Any fines or penalties;
                   control, or occupy.                                           (3) Acid rain; or
                                                                                 (4) Clean up, removal,
           c. This exclusion does not apply if                                       containment, treatment,
              said discharge, dispersal,                                             detoxification, or

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POLICY NUMBER: 71P2000037-101
                                                                                                  EUM 21 723 05 06

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     neutralization of "pollutants"                          release or escape of "pollutants" which
                     situated on premises you                                may result in liability as described in i.,
                     own, rent or occupy at the                              ii., iii., iv., or v. above;
                     time of the actual discharge,
                     dispersal, seepage,
                     migration, release or escape
                     of said "pollutants".

      However, this exclusion shall not apply
      to the following:
           i. Any liability arising out of heat,
                smoke, or fumes from a "hostile
                fire";
           ii. Any liability arising out of
                explosion, lightning, windstorm,
                vandalism or malicious mischief,
                collapse,      riot    and     civil
                commotion, flood, earthquake or
                collision, upset, or overturn of an
                "automobile" or equipment;
           iii. Any liability arising out of police
                use      of    mace,      oleoresin
                capsicum (o.c.), pepper gas or
                tear gas;
           iv. Any liability arising out of weed
                abatement or spraying; or
           v. Any liability arising out of the
                "products-completed operations
                hazard".

      All liability arising from i., ii., iii., iv., or v.
      above arising out of the same,
      interrelated, associated, repeated or
      continual discharge, dispersal, release
      or escape of "pollutants" shall be
      deemed one "occurrence", "wrongful
      act", "employment practice liability
      wrongful act"         or "employee benefit
      wrongful act". The commencement of
      such discharge, dispersal, release or
      escape of "pollutants" shall be recorded
      and reported to the Risk Manager or
      designated Department Head within a
      seventy-two hour period.

      Regardless of whether any "claim" or
      "suit" against you has been made, you
      shall give written notice to us or any
      authorized brokers within forty calendar
      days of the Risk Manager's or
      designated Department Head's recorded
      entry of such discharge, dispersal,
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 POLICY NUMBER: 71P2000037-101
                                                                                                EUM 22 544 04 09

   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


           DAM COVERAGE WITH EXCEPTION FOR
         SPECIFICALLY EXCLUDED DAMS; AMENDED
                 SUBSIDENCE EXCLUSION
 This endorsement modifies insurance provided under the following:

        PUBLIC ENTITY EXCESS LIABILITY


                                               SCHEDULE

  Name Of Excluded Dam(s):
  Lake Gregory Dam
  Seven Oaks Dam
  Pelican Dam
 (If no entry appears above, information required to complete this endorsement will be shown in the
 Declarations as applicable to this endorsement.)


 A. Exclusion 19. in paragraph D. EXCLUSIONS of SECTION I. COVERAGES is replaced by the
    following:

    19. "Property damage" caused by, arising out of, resulting from, attributable or contributed to, or
        aggravated by "subsidence".

         However, this exclusion does not apply to "subsidence" arising out of the rupture, bursting, over-
         topping, flooding, cracking, seepage, under-seepage, accidental discharge or partial or complete
         structural failure of any "dam" not specifically listed in the Schedule of this endorsement.

 B. Exclusion 21. in paragraph D. EXCLUSIONS of SECTION I. COVERAGES is replaced by the
    following:

    21. Any liability arising out of the rupture, bursting, over-topping, flooding, cracking, seepage, under-
        seepage, accidental discharge or partial or complete structural failure of any "dam" listed in the
        Schedule of this endorsement.




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POLICY NUMBER: 71P2000037-101                                            COMMERCIAL LIABILITY UMBRELLA
                                                                                           CU 22 40 12 04

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                         POLICY CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART

 Effective Date of Change:   July 1, 2010
 Change Endorsement No.:    N/A
 Named Insured: County of San Bernardino

 The following item(s):

        Insured's Name                                       Insured's Mailing Address

        Policy Number                                        Company

        Effective/Expiration Date                            Insured's Legal Status/Business of Insured

        Payment Plan                                         Premium Determination

        Additional Interested Parties:                  X    Coverage Forms and Endorsements

        Limits/Exposures                                     Self-Insured Retention

        Covered Property/Located Description                 Classification/Class Codes

        Rates                                                Underlying Insurance

 is (are) changed to read {See Additional Page(s)}:




 The above amendments result in a change in the premium as follows:

   X      NO CHANGES                 TO BE ADJUSTED         ADDITIONAL PREMIUM            RETURN PREMIUM
                                        AT AUDIT


 Endorsement Effective: July 1, 2010                        Countersigned By:

 Named Insured: County of San Bernardino                                              ;....  _ _ ••
                                                                  ..•         .
                                                                         (Authorized Representative)




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                                POLICY CHANGES ENDORSEMENT DESCRIPTION

        A. The following paragraph is added to D. EXCLUSIONS of SECTION I. COVERAGES:

              This insurance does not apply to a "claim" or "suit" against you for:

                      Any liability arising out of or in connection with a "strip search" or "body cavity search" of a de-
                      tained person or persons. As used in this exclusion, "strip search" means a search which in-
                      cludes a physical or visual inspection of the underclothing, breasts, buttocks, or genitalia of
                      the searched person. As used in this exclusion, "body cavity search" means a visual or
                      physical inspection of the stomach, rectal cavity and/or vagina of the searched person.

                      This exclusion shall apply only to strip search or body cavity search activity that is alleged in a
                      "Class Action". As used in this exclusion, "class action" means a certified class action or a
                      lawsuit that includes class action allegation.

        B. Paragraph 19. of D. EXCLUSIONS, SECTION I. COVERAGES, is deleted in its entirety.

        C. Paragraph 3. of SECTION II. WHO IS AN INSURED, is replaced with the following:

                       Past or present "employees" of the Named Insured, whether or not compensated, including
                       volunteers, while acting for or on your behalf;

        D. Paragraph 4. of SECTION II. WHO IS AN INSURED, is amended to include the following:

              4.
                   d. All Special Districts governed directly by the insured's governing board and other
                      districts or agencies which are included in the Named Insured.

        E. Paragraph 7. of SECTION III. LIMITS OF INSURANCE, is amended to include the following:

                             e. Subsidence Aggregate- The Aggregate Limit of this insurance is the most we will
                                pay for all damages arising out of all subsidence claims for all named insureds.

        F. ITEM 3. A. Limits of Insurance of the Declaration page is amended to include the following Aggre-
           gate Limit
                e. $10,000,000 Subsidence Aggregate

        G. Definition EE. "Retained Limit" of SECTION V. DEFINITIONS is amended to include the following:


                   However, "retained limit" shall include allocated defense costs incurred in the investigation, de-
                   fense or appeal of a "claim" or "suit" to which this insurance applies by attorneys who are your
                   employees.




Page 2 of 2                                   © ISO Properties, Inc., 2004                               CU 22 40 12 04      ❑
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POLICY NUMBER:            71P2000037-101                                   COMMERCIAL LIABILITY UMBRELLA
                                                                                             CU 22 40 12 04

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                         POLICY CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART

 Effective Date of Change:       July 1, 2010
 Change Endorsement No.:         1
 Named Insured:                  County of San Bernardino

 The following item(s):

        Insured's Name                                        Insured's Mailing Address

        Policy Number                                         Company

        Effective/Expiration Date                             Insured's Legal Status/Business of Insured

        Payment Plan                                          Premium Determination

        Additional Interested Parties:                    X   Coverage Forms and Endorsements

        Limits/Exposures                                      Self-Insured Retention

        Covered Property/Located Description                  Classification/Class Codes

        Rates                                                 Underlying Insurance

 is (are) changed to read {See Additional Page(s)}:



 The above amendments result in a change in the premium as follows:

   X      NO CHANGES                 TO BE ADJUSTED           ADDITIONAL PREMIUM           RETURN PREMIUM
                                        AT AUDIT



 Endorsement Effective:      July 1, 2010                           Countersigned By:

 Named Insured:              County of San Bernardino

                                                                              (Authorized Representative)



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                           POLICY CHANGES ENDORSEMENT DESCRIPTION




 ITEM 4. FORMS AND ENDORSEMENTS of the Declarations Page is hereby amended to delete the following
         Form in its entirety.

                                 Title                                  Number
        Dam Coverage with Exception for Specifically Excluded Dam;     EUM 22 544 04 09
        Amended Subsidence Exclusion




Page 2 of 2                             © ISO Properties, Inc., 2004                  CU 22 40 12 04   ❑
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POLICY NUMBER: 71P2000037-101                                            COMMERCIAL LIABILITY UMBRELLA
                                                                                           CU 22 40 12 04

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                         POLICY CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART

 Effective Date of Change:   July 1, 2010
 Change Endorsement No.:    2
 Named Insured: County of San Bernardino

 The following item(s):

        Insured's Name                                       Insured's Mailing Address

        Policy Number                                        Company

        Effective/Expiration Date                            Insured's Legal Status/Business of Insured

        Payment Plan                                         Premium Determination

        Additional Interested Parties:                  X    Coverage Forms and Endorsements

        Limits/Exposures                                     Self-Insured Retention

        Covered Property/Located Description                 Classification/Class Codes

        Rates                                                Underlying Insurance

 is (are) changed to read {See Additional Page(s)}:




 The above amendments result in a change in the premium as follows:

   X      NO CHANGES                 TO BE ADJUSTED         ADDITIONAL PREMIUM            RETURN PREMIUM
                                        AT AUDIT


 Endorsement Effective: July 1, 2010                        Countersigned By:

 Named Insured: County of San Bernardino                                              ;....  _ _ ••
                                                                  ..•         .
                                                                         (Authorized Representative)




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                          POLICY CHANGES ENDORSEMENT DESCRIPTION



  B. Paragraph 21. of D. EXCLUSIONS, SECTION I. COVERAGES, is deleted in its entirety as respects
     to the following:

     Lake Gregory Dam
     Seven Oaks Dam
     Pelican Dam




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    This policy is signed by officers of the Company shown on the Declarations page of this policy.


    For:    Everest National Insurance Company




                                                             Secretary




    EIL 00 515 03 07             © Everest Reinsurance Company, 1997
